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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
HOWARD M. BERRY,                           )
                                           )
      Plaintiff,                           )
                                           )
   v.                                      )  Case No. 17-2112 (CRC)
                                           )
MARK ESPER1 ,                              )
SECRETARY OF THE ARMY and                  )
                                           )
JAMES MATTIS,                              )
SECRETARY OF DEFENSE,                      )
                                           )
      Defendants.                          )
                                           )
__________________________________________)

                PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT

       Plaintiff Howard M. Berry, by counsel and pursuant to Rule 56(c) of the Federal Rules of Civil

Procedure, hereby cross-moves for summary judgment against Defendants Mark Esper, Secretary of

the Army, and James Mattis, Secretary of Defense. As grounds therefor, Plaintiff respectfully refers

the Court to the accompanying “Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion

for Summary Judgment and in Support of Plaintiff’s Cross-Motion for Summary Judgment,” and

“Plaintiff’s Response to Defendants’ Statement of Material Facts Not in Dispute and Statement of

Material Facts in Support of Cross-Motion for Summary Judgment.”

Dated: March 19, 2018                               Respectfully submitted,

                                                    JUDICIAL WATCH, INC.

                                                    /s/ Paul J. Orfanedes
                                                    Paul J. Orfanedes
                                                    D.C. Bar No. 429716

                                                    /s/ Lauren M. Burke

1Pursuant to Fed. R. Civ. P. 25(d), the Secretary of the Army, Mark Esper, is automatically substituted
as the proper Defendant in place of Ryan D. McCarthy, who no longer serves as Secretary.
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